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                              UNITED STATES BANKRUPTCY
                             COURT SOUTHERN DISTRICT OF
                              FLORIDA www.flsb.uscourts.gov

 In re:                                                  Case No. 21-16573-BKC-LMI
                                                         Chapter 13
CHRISTOPHER NIMETH

                    Debtor          /


                         CERTIFICATE OF SERVICE AND
             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 9073-1(D)

       I certify that true copies of ORDER SUSTAINING DEBTOR’S OBJECTION TO CLAIM
NO.: 3 ON SHORTENED NOTICE FILED BY LVNV FUNDING, LLC was served electronically
on December 9, 2021 as follows:

Electronically

Jose P Funcia on behalf of Debtor Christopher Nimeth
millerfunciaecf2@gmail.com,, millerandfunciapa@ecf.inforuptcy.com

Ida Moghimi Kian on behalf of Creditor 722 Leveling Up, LLC
southerndistrict@shdlegalgroup.com

Nancy K. Neidich
e2c8f01@ch13miami.com, ecf2@ch13miami.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Via First Class Mail on April 18, 2022

Resurgent Capital Services
P. O. Box 10587
Greenville, SC 29603-0587

LVNV Funding, LLC
C/O Corporation Service Company, Registered Agent
1201 Hayes Street
Tallahassee, FL 32301

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                                                  /s/ Jose P. Funcia
                                                  Jose P. Funcia, Esq.
                                                  Florida Bar Number: 0698210
